Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 1 of 35




                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                                Case No.

   SKYHOP TECHNOLOGIES, INC.
   a Delaware corporation, SKYHOP
   GLOBAL, LLC a Florida limited
   liability company, KRISTINE SCOTTO,
   an Individual,

         Plaintiffs,

   vs.

   PRAVEEN NARRA, an individual,
   INDYZEN, INC., a California
   corporation, d/b/a AppDevelopment.com,
   Inc; d/b/a Tech.US, Inc.,

              Defendants.

  ____________________________________/

                                              COMPLAINT

           Plaintiff, SkyHop Technologies, Inc. (“SkyHop Tech”), SkyHop Global, LLC (“SkyHop

  Global”), and Kristine Scotto, (“Scotto”) (collectively, “Plaintiffs”), by and through the

  undersigned, file their complaint against Defendants Praveen Narra (“Narra”), and Indyzen, Inc.,

  d/b/a AppDevelopment.com, Inc; d/b/a Tech.US, Inc. (“Indyzen”) (collectively, “Defendants”)

  and allege as follows:

                                            INTRODUCTION

         1.        SkyHop Tech owns a certain proprietary software technology that includes:

  SkyPlan, SkyHop Crew’s IOS Application and Android Application, and SkyHop Driver’s IOS

  Application and Android Application (collectively the “Software” or “SkyHop Apps”).

                            Skyhop Technologies, et al. v. Praveen Narra, et al.
                                               Complaint
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 2 of 35




       2.        SkyHop Tech licenses the Software to SkyHop Global, a company that provides

  ground transportation services to commercial airlines’ crew members (i.e. pilots and flight

  attendants) at airports throughout the United States.

       3.        The Software is the central nervous system of SkyHop Global’s entire operation.

  SkyHop Global relies on the Software to get airlines’ crew members to and from airports on time.

  Airline crews depend on this technology for their transportation and travelers throughout the

  country depend on the airline crews to transport them to their destinations.

       4.        Currently, SkyHop Global has approximately 80 contracts with 15 airlines

  (including, Delta Airlines, American Airlines, Southwest Airlines, United Airlines), and it operates

  in 21 cities throughout 11 states. SkyHop Global has 460 employees.

       5.        The SkyHop Apps were developed over the course of approximately seven years.

  Since 2014, SkyHop Tech has paid Indyzen approximately $2.6 Million to develop and provide

  maintenance services to the Software.

       6.        In January 2021, SkyHop Tech’s President, Scotto, advised Narra that she was

  planning to hire in-house developers, who would take over the Software’s development and

  maintenance needs. Narra, refused to transfer the possession and control of the Software to

  SkyHop Tech. Instead, Narra demanded a $1.1 Million payment in exchange for the possession

  and control of the Software.

       7.        In this action, SkyHop Tech seeks to recover possession and control of its Software

  from Narra, who is unlawfully withholding a substantial portion of the Software from SkyHop

  Tech, and who is causing Indyzen to withhold the other portions of the Software. SkyHop Tech

  also seeks preliminary and permanent injunctions to prevent Defendants from shutting-down or

  otherwise affecting the operations of the Software.




                                             Page 2 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 3 of 35




       8.        Any shutdown of the Software would produce devastating and irreparable damages

  to SkyHop Tech and SkyHop Global’s businesses.

       9.        The irreparable harm visited from any impairment of the Software far exceeds the

  harm to SkyHop Tech and SkyHop Global. Because the contracting airlines’ crews depend on the

  Software to arrange their transportation from and, particularly, back to the airports, any shutdown

  or interference with the Software—even a brief shutdown—would create a domino-effect that

  would result in a series of delays and interfere with air travel throughout the United States.

      10.        Plaintiffs are also seeking a declaratory judgment to determine the arbitrability of

  the claims that Indyzen set forth in a demand for arbitration, filed on March 12, 2021 against the

  Plaintiffs, under the American Arbitration Association’s Commercial Arbitration Rules (the

  “Arbitration”). Because the Indyzen does not have a right to arbitrate the claims set forth in the

  Arbitration, Plaintiffs seek to enjoin the Arbitration or to preclude their participation.

                                   JURISDICTION AND VENUE

      11.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

  1331 in so far as this case sets forth claims arising under 18 U.S.C. § 1030. Also, under 28 U.S.C.

  § 1367, supplemental jurisdiction exists over the state law claims stated herein, each of which arise

  out of a common nucleus of operative facts from which the federal claims arise.

      12.         This Court also has subject matter jurisdiction over this action pursuant to 28

  U.S.C. § 1332(a)(1) in so far as this is an action between citizens of different States where the

  amount in controversy exceeds $75,000.00, exclusive of interest and costs.

      13.        The Court has general personal jurisdiction over Defendants under Fla. Stat. §§

  48.193(2). Alternatively, the Court has specific personal jurisdiction over Defendants pursuant to

  Fla. Stat. §§ 48.193(1)(a)(1)-(2), and Fla. Stat. § 48.193 (1)(a)(6).




                                              Page 3 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 4 of 35




      14.         Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §1391(b)

  because a substantial part of the events or omissions giving rise to the claims occurred in this

  District, a substantial part of the property that is the subject of this action is located in this district,

  and Defendants are subject to specific personal jurisdiction in this District.

                                                 PARTIES

      15.         SkyHop Tech is a Delaware corporation with its headquarters in Broward-County,

  Florida.

      16.         SkyHop Global is a Florida limited liability company, with its headquarters in in

  Broward-County, Florida, and whose members are natural persons residing in Florida and

  Massachusetts.

      17.         Scotto is an individual, who is a resident of Broward-County, Florida and is

  otherwise sui juris. Scotto is the President of SkyHop Tech and the CEO of SkyHop Global.

      18.         Narra is an individual, who is a resident of California and is otherwise sui juris.

  Narra owns and controls Indyzen. Narra is in possession of the Software, or a substantial portion

  of the Software, as he (in his personal capacity and not through Indyzen) holds an Amazon Web

  Services account where the Software or a portion thereof is housed. Narra, in his personal capacity,

  is in control of the Software withholding the portions of the Software in his possession and

  otherwise, though his control of Indyzen, Narra is preventing the transfer of the portions of the

  Software in Indyzen’s possession.

      19.         Indyzen, is a company organized and existing under the laws of the State of

  California. Indyzen developed the Software for SkyHop Tech, and provides on-going software

  development and maintenance services to SkyHop Tech from 2014 to 2021. Indyzen is in

  possession of any portions of SkyHop Tech’s Software not directly under Narra’s control.




                                                 Page 4 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 5 of 35




                                    GENERAL ALLEGATIONS

      20.        Flight delays in the United States place significant strain on air travel and costs

  airlines, passengers, airports, and society billions of dollars each year. Because commercial

  airplanes cannot flight without pilots and crews, SkyHop Global through SkyHop Tech’s software

  is addressing a key component of flight delays—getting airline crews to the airports on time.

      21.        SkyHop Tech’s Software is uniquely designed to allow SkyHop Global to deliver

  its services with pinpoint precision and reduce flight delays as a result of crew members’ tardiness.

  Through use of the SkyHop Apps, crew members are picked up at precisely the location and time

  scheduled. SkyHop Tech’s GPS metrics show that SkyHop Global’s pickups are on-time 98% of

  the time—eliminating one of the causes for flight delays.

      22.        The airline crews, that are currently using SkyHop Tech’s Software are doing so in

  real-time and are depending on its reliability. Practically, no amount of coordination and notice to

  the airlines could replace the airlines crews’ reliance on the Software, such that any interruption

  of the Software would unavoidably result in flight delays and interruptions in interstate travel.

  I. Description of the SkyHop Apps

      23.        SkyHop Tech’s Software represents a quantum-leap in airline-crew transportation.

  It provides a user-friendly, data-rich, application-based system to coordinate the transportation for

  airline crews in an industry that, before SkyHop Global’s use of the Software, was the model of

  inefficiency and waste.

      24.        The Software has three major components: SkyPlan, SkyHop Crew, and SkyHop

  Driver.




                                             Page 5 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 6 of 35




     A. The SkyPlan Web-based Program

      25.        SkyPlan is a password-protected back-end web-based program that communicates

  with and supports the SkyHop Crew and SkyHop Driver applications. SkyPlan allows for the

  collection and control of data to facilitate cost-efficient transportation of commercial airline crews

  to and from airports.

      26.        Every month, flight manifests are uploaded into SkyPlan to create schedules to

  pick-up and drop-off crew members. SkyPlan’s scheduling screens track the pick-up date, the

  scheduled pick-up time, any changes to scheduled pick-up time, the city, the airport, the airline,

  the number of crew members to be picked up, the driver ID, the vehicle ID, and the drop-off

  location.

      27.        In 2021, even in the midst of the pandemic travel-slow down, SkyHop Global has

  averaged approximately 1,400 trips per day. SkyPlan’s scheduling screens coordinate and track

  each and every trip that SkyHop Global schedules, changes, cancels, and completes.

      28.        SkyPlan’s scheduling screen is constantly being updated in real-time to account for

  the constant flight changes and the airlines’ repeated changes that include additional pick-ups and

  pick-up cancellations.

      29.        SkyPlan scheduling also necessarily tracks the approximately 435 drivers that

  SkyHop Global has throughout the 21 cities in which it operates. The drivers’ schedules are

  reconciled with the trip schedules and flight manifests changes.

      30.        SkyPlan tracks all vehicles in SkyHop Global’s fleet; specifically, it tracks the

  inventory of SkyHop Global’s vehicles, and tracks the data necessary to ensure that the vehicles

  meet the regulatory and contractual safety and maintenance standards.




                                              Page 6 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 7 of 35




      31.           SkyPlan is used to track the contractual payment terms with different airlines in

  different cities (i.e. price of manifest scheduled trips, add-on trips, cancelled trips, and out-of-

  network trips).

      32.           Dispatchers use SkyPlan’s dispatching screens to coordinate all dispatching

  functions. Using these screens dispatchers can see the driver of each vehicle, which vehicle has

  crew on board, which vehicles are assigned to trips, vehicle location, the traffic flows drivers will

  be facing, and other information. SkyHop Global’s dispatchers use this information to make real-

  time changes to schedules and assignment of drivers to different trips as needed to ensure

  punctuality and efficiency.

      33.           SkyPlan organizes data collected by the SkyHop Driver App, SkyHop Crew App,

  and other third-party websites and vendors such as real-time GPS location of vehicles, the traffic

  flows, trip distances, trip time, driver safety metrics, crew members’ ratings and comments

  concerning drivers and vehicles, among other data.

      34.           This data is used to create a series of different reports, which in turn allow SkyHop

  Global’s management team to not only improve the quality and efficiency of its services, but also

  to maximize the safety of its drivers, crew, and the public.

      35.           The functionality of SkyPlan is not unlike the commercial ride-sharing applications

  such as Uber and Lyft, but specifically tailored to the necessities of commercial airlines and the

  complexities of travel to and from major United States airports.

      36.           SkyPlan is currently housed in two servers that are hosted by Amazon Web

  Services.

      37.           Amazon Web Services account number ending in ***9911 contains SkyHop

  Tech’s Production Server, which houses the operational version of SkyPlan (the “AWS Production




                                                Page 7 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 8 of 35




  Server Account”), and the account number ending in ***4401 contains SkyHop Tech’s Staging

  Server, which houses the testing version of SkyPlan (the “AWS Staging Server Account”)

  (collectively the “AWS Accounts”).

      38.        SkyHop Tech pays for the AWS Accounts, where its servers are hosted.

      39.        The AWS Staging Server Account is in Narra’s name, individually, and the address

  on that Account is Narra’s personal residence. Upon information and belief, when Narra originally

  opened the AWS Staging Server Account for SkyHop Tech, he opened it in his name, individually.

      40.        The AWS Production Server Account is currently in Indyzen’s name, but it uses

  Narra’s personal residence as the address for that Account.

      41.        SkyHop Tech does not have the passwords to the AWS Accounts.

      42.        The passwords to the AWS Accounts are in Narra’s possession and in his sole

  control. The passwords to the AWS Accounts may also be in Indyzen’s possession.

      43.        On February 9, 2021, SkyHop Tech, through its attorneys, demanded the return of

  the passwords to the AWS Accounts, but Narra refused to provide it and he prohibited Indyzen

  from returning same.

     B. The SkyHop Driver App

      44.        The SkyHop Driver Apps are IOS and Android mobile applications that can be

  download from Apple’s AppStore or Google Play.

      45.        The SkyHop Driver Apps are password protected applications that can be used only

  by SkyHop Global’s drivers.

      46.        SkyHop Driver Apps communicate with SkyPlan to fetch data from SkyPlan, and

  to share data about the drivers, their performance, safety metrics, among other data.




                                             Page 8 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 9 of 35




      47.          SkyHop Driver Apps also allow for open lines of communication with dispatch and

  crew members, they allow drivers to manage their availability, coordinate pick-ups with

  dispatchers, crew members and other drivers, and it allows the drivers to make adjustments for

  delayed flights.

      48.          Further, the SkyHop Driver Apps also provides drivers with navigation and GPS

  tracking to assist them with identifying the best travel routes.

      49.          SkyHop Global’s drivers can use the SkyHop Driver Apps to view their

  performance metrics to provide them with motivation for continued improvement that could lead

  to job-growth.

     C. The SkyHop Crew App

      50.          The SkyHop Crew Apps are IOS and Android mobile applications that can be

  downloaded from Apple’s AppStore or Google Play.

      51.          The SkyHop Crew App is a password protected application that is used only by

  airline crew members, who download the SkyHop Crew App and create a profile therein.

      52.          The SkyHop Crew App communicates with SkyPlan to fetch data from SkyPlan.

      53.          With the SkyHop Crew App, flight crews can alert SkyHop Global of their arrival

  and provide for 2-way communication via text or call with their SkyHop Global driver. The

  SkyHop Crew App also allows flight crews to communicate with SkyHop Global dispatchers and

  their own Airlines, all with the touch of a finger.

      54.            The SkyHop Crew Apps allow crew members to track their driver’s location. The

  SkyHop Crew App also provides crew members with a profile and photograph of their driver for

  increased safety. Crew members can also use the SkyHop Crew App to rate or leave a review of

  the drivers’ services, which also promotes increased safety.




                                              Page 9 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 10 of 35




      55.        SkyHop Crew App communicates with the SkyPlan to share data about the drivers,

  their performance, safety metrics, among other data.

  II. Development of SkyHop Tech’s Software

      56.        SkyHop Tech’s Software has been developed in phases from 2014 to the present.

      57.        Indyzen was the software developer, which developed the Software throughout all

  of those phases. Indyzen also provided on-going maintenances services to the Software during this

  entire time.

      58.        SkyHop Tech and Indyzen signed software development contracts for each phase

  of development. The development contracts were executed on or about August 5, 2014, December

  30, 2017, February 11, 2019, July 15, 2019, and May 14, 2020. (The contracts are attached hereto

  as Exhibits 1, 2, 3, 4, and 5, respectively).1

      59.        At the times the Software was not in development, Indyzen would only maintain

  the Software and provide on-going bug-fixes. During these times, SkyHop Tech and Indyzen had

  maintenance agreements.

      60.        SkyHop Tech has paid Indyzen all the amounts due under the development

  contracts and maintenance agreements.

      61.        From 2014 to present, SkyHop Tech paid Indyzen approximately $2.6 Million to

  develop and maintain its Software.

      62.        As the developer and party charged with the maintenance of the Software, Indyzen

  is in possession of all or a portion of the SkyHop Apps’ source codes, the outside vendor accounts

  they use to function (which includes but is not limited to the AWS Accounts), the application



  1
         SkyHop Tech is uncertain whether there are one or two additional software development
  contracts between SkyHop Tech and Indyzen, which would have been signed prior to the year
  2019; to the extent there are, SkyHop Tech does not have copies of same.

                                              Page 10 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 11 of 35




  programming interfaces (APIs) that each SkyHop App uses, the domain names, DNS service, the

  signing keys, and all corresponding passwords or passphrases necessary to continue to operate,

  develop, and maintain the SkyHop Apps (collectively, SkyHop’s “Digital Property”).2

      63.       Any Digital Property not in Indyzen’s possession is in Narra’s possession.

  III. Ownership of SkyHop Tech

      64.       SkyHop Tech was incorporated in Delaware on July 18, 2014.

      65.       In or around June 2014, prior to the formation of SkyHop Tech, Scotto met with

  developers to discuss development of what would eventually become the Software.

      66.       On or about June 10, 2014, shortly after mutual acquaintances introduced Narra

  and Scotto, Narra travelled to Ft. Lauderdale, Florida to meet with Scotto and her then business

  partner, Pavan Taneja.

      67.       At that initial meeting, they discussed the creation of SkyHop Tech and the

  prospective development of SkyPlan.

      68.       Between June 16, 2014 and August 26, 2014, Narra, Scotto, and Pavan Taneja

  (“Taneja”), exchanged a series of emails concerning the formation of SkyHop Tech, the ownership

  percentages that the initial shareholders would hold, and the development of SkyHop Tech’s

  Software. (A copy of emails dated June 16, 2014; June 17, 2014; and June 23, 2014 are attached

  hereto as Composite Exhibit 6).

      69.       These emails establish that Scotto, Narra, Pavan Taneja, and Noreen Young

  (“Young”) were supposed to be the initial shareholders of SkyHop Tech:




  2
         For purposes of this Complaint the term “Digital Property” shall be subsumed or
  incorporated in the meaning of the term “Software.”

                                           Page 11 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 12 of 35




  See June 23, 2014 Email, Cmp. Ex. 6.

      70.       On or about June 27, 2014, Narra, Scotto, and Taneja, as the intended Co-Founders

  of SkyHop Tech, hired Invetnus Law to draft SkyHop Tech’s organizational and corporate

  governance documents. (A copy of the engagement letter and accompanying email are attached

  hereto as Composite Exhibit 7).

      71.       Between June 30, 2014 and July 2, 2014, Narra, Scotto, and Taneja completed a

  questionnaire for Inventus Law, providing information necessary to draft SkyHop Tech’s

  organizational and corporate governance documents. (A copy of the June 30, 2014 email and the

  Inventus Law Questionnaire are attached hereto as Exhibit 8). (A copy of the completed Inventus

  Law Questionnaire and accompanying emails are attached hereto as Composite Exhibit 9).

      72.       The response to the questionnaire confirms that Scotto, Narra, Taneja, and Young

  were all supposed to be the initial shareholders of SkyHop Tech:




                                           Page 12 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 13 of 35




  See Completed Inventus Law Questionnaire at 4, Cmp. Ex. 9.

      73.        Between July 18, 2014 and August 26, 2014, while Inventus Law was drafting

  SkyHop Tech’s organizational and corporate governance documents, the parties continued to

  negotiate their respective interests in SkyHop Tech. (A copy of the emails dated July 18, 2014;

  August 23, 24, and 26, 2014 are attached hereto as Composite Exhibit 10). In and around this

  same time, Scotto and Taneja’s business relationship began to breakdown.

      74.        Due to the escalating issues between Scotto and Taneja, in or about October 2014,

  Narra became hesitant to finalize any deal concerning his interest in SkyHop Tech. Narra delayed

  funding SkyHop Tech’s account, and he delayed finalizing the SkyHop Tech organizational and

  corporate governance documents. (A copy of the email chain dated October 7-10, 2014 is attached

  hereto as Exhibit 11).

      75.        On January 19, 2015, Taneja—through his company Bridge Holdings International

  Corp.—filed suit derivatively on behalf of Bridge Holdings USA, LLC (“Bridge USA”), claiming

  inter alia that Bridge USA owned 100% of the SkyHop Tech and SkyHop Global (hereinafter the

  “SkyHop Ownership Litigation”).

      76.        On February 6, 2015, Narra received notice of the SkyHop Ownership Litigation.

  (A copy of the emails dated February 6, 2015 are attached hereto as Exhibit 12).

      77.        On February 7, 2015, Narra received a copy of the complaint filed in the SkyHop

  Ownership Litigation, and he referred the issue to his attorneys. (A copy of the February 7, 2015

  email and the complaint are attached hereto as Exhibit 13). (A copy of the February 7-11, 2015

  email chain is attached hereto as Exhibit 14).

      78.        Shortly thereafter, Narra disclaimed his ownership interest in SkyHop Tech

  because he did not want any part of the SkyHop Ownership Litigation.




                                            Page 13 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 14 of 35




      79.        On March 7, 2015, Narra sent an email to Taneja confirming that he disclaimed his

  interest in SkyHop Tech:




  (A copy of the March 7, 2015 email chain is attached hereto as Exhibit 15).

      80.        Narra was not a party to the SkyHop Ownership Litigation. While Narra had the

  opportunity to intervene to protect any interest he may have claimed in SkyHop Tech throughout

  the course of that Litigation, he chose to remain on the sidelines.

      81.        Young, who was also part of the initial intended ownership group, intervened in the

  SkyHop Ownership Litigation to protect her ownership interest in SkyHop Tech, unlike Narra. (A

  copy of Young’s Motion to Intervene and her Intervenor Complaint are attached hereto as

  Composite Exhibit 16).

      82.        Narra refused to intervene in the SkyHop Ownership Litigation and instead

  renounced any interest in SkyHop Tech.

      83.        Narra was deposed in connection to the SkyHop Ownership Litigation, and during

  the deposition he, once again, confirmed under oath he had no interest in SkyHop Tech:




  Praveen Narra Depo. Tr., July 20, 2018, at 18:11-13.




                                             Page 14 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 15 of 35




  Praveen Narra Depo. Tr., July 20, 2018, at 114:9-12. (A copy of Narra’s Deposition Transcript is

  attached hereto as Composite Exhibit 17).

      84.       Since Narra relinquished his ownership in SkyHop Tech, the SkyHop Ownership

  Litigation proceeded without Narra’s involvement.

      85.       On or about March 18, 2020, the SkyHop Ownership Litigation was dismissed with

  prejudice pursuant to a Confidential Settlement Agreement. (A copy of March 18, 2020 Order is

  attached hereto as Exhibit 18).

      86.       In connection to that Settlement, promises were made, terms and conditions were

  agreed to, and monies were invested and paid in reliance on Narra’s relinquishment of any and all

  ownership interest in SkyHop Tech.

      87.       In or shortly after March 2020, Narra learned that the SkyHop Ownership Litigation

  had been settled. Upon learning of the Settlement, Narra did not make any demand for an interest

  in SkyHop Tech.

  IV. Interference with SkyHop Tech’s Software and Attempts to Extort SkyHop Tech

      88.       Almost a year after the Settlement, on or about January 9, 2021, Scotto advised

  Narra that, in the next few months, SkyHop Tech would be hiring in-house developers, who would

  continue to develop and maintain the Software. That meant SkyHop Tech’s on-going relationship

  with Indyzen would be terminating.

      89.       During the call, Scotto advised Narra that she wanted to come up with a plan to

  transfer the possession and control of the Software to SkyHop Tech. Narra immediately refused,




                                           Page 15 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 16 of 35




  and said he would not turn over the software unless he was paid for his alleged shares of SkyHop

  Tech.

      90.       On January 11, 2021, Narra sent an email to Scotto demanding payment of over

  $1.1 Million in exchange for turning over the Software to SkyHop Tech:




  (A copy of the January 11, 2021 email is attached hereto as Exhibit 19).

      91.       The demand for payment of $1.1 million was random and arbitrary, not tied to

  development, maintenance, or any other services provided to SkyHop Tech. No invoice for that

  amount was ever provide.

      92.       Narra’s attempt to hold the Software hostage for $1.1 million dollars to coerce any

  of the Plaintiffs to pay him money is unauthorized use of the computer information, in particular

  the unauthorized retentions of the AWS Production Server Account, and other portions of the

  Software or Digital Property in possession.




                                           Page 16 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 17 of 35




      93.         On February 1, 2021, Robert Milks—an agent of Indyzen—reinforced that the

  payment of the $1.1 million had to be paid to Narra, individually before Indyzen was to return

  the Software:




  (A copy of the February 1, 2021 email is attached hereto as Exhibit 20).

      94.         On February 6, 2021, Narra sent an email stating that, by February 10th, Scotto

  should transfer a 32% interest in SkyHop Tech to his name, individually, if they could not agree

  to terms concerning the $1.1 million demand that Narra had made on January 11, 2021. (A copy

  of the February 6, 2021 email is attached hereto as Exhibit 21).

      95.         On February 9, 2021, SkyHop Tech’s counsel sent a demand letter to Narra, giving

  him until March 1, 2021, to return the Software. (A copy of the February 9, 2021 demand letter is

  attached hereto as Exhibit 22).

      96.         Despite SkyHop Tech’s demand for return of its Software, Narra and/or Indyzen

  have not transferred possession of the Software to SkyHop Tech.




                                            Page 17 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 18 of 35




      97.        Instead, anticipating an action for the return of the Software, on March 12, 2021,

  eleven days after SkyHop Tech demanded that the Software be returned, Indyzen filed a Demand

  for Arbitration (the “Demand”), against the Plaintiffs. (A copy of the Demand is attached hereto

  as Exhibit 23).

      98.        Based on the emails sent on January 11, 2021 (Ex. 19), February 1, 2021 (Ex. 20),

  and February 6, 2021 (Ex. 21), Narra further clarified that he was withholding, and directing

  Indyzen to withhold, the Software because SkyHop Tech had to pay him for his purported shares

  in SkyHop Tech. This is not a valid justification for withholding the Software.

      99.        Based on the Demand, it is deduced that Indyzen is withholding the Software

  because it believes that SkyHop Tech failed to pay full price for it. Indyzen maintains SkyHop

  Tech received the Software at a deep discount due to the fact that Narra was initially supposed to

  own a percentage of SkyHop Tech; thus, SkyHop Tech failed to pay full price for it. Indyzen’s

  rationale, however, is flawed and does not justify withholding the Software because SkyHop Tech

  paid all amounts due for the Software.

     100.        Currently, SkyHop Tech is able to operate the Software but it is not able to develop

  or maintain the Software in-house, and it is unable to reproduce the Software or prepare derivatives

  of the Software.

     101.        All conditions precedent to bringing this action have been performed, waived, or

  otherwise excused.

     102.        Plaintiffs hired undersigned counsel and they are required to pay the undersigned

  reasonable attorneys’ fees in connection to this action.




                                             Page 18 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 19 of 35




                                           Count I
            Computer Fraud and Abuse Act (18 U.S.C. §1030(a)(7)(A) or §1030(a)(7)(C))
                               (SkyHop Tech against Defendants)

     103.         SkyHop Tech realleges and incorporates by reference herein the allegations in

  paragraphs 1 through 102.

     104.         On January 11, 2021, Narra sent an email to SkyHop Tech with the intent to extort

  money from SkyHop Tech.

     105.         On February 1, 2021, Narra caused Indyzen to send an email to SkyHop Tech with

  the intent to extort money from SkyHop Tech.

     106.         Narra refused to allow Indyzen to transfer possession of the Software to SkyHop

  Tech until and unless SkyHop Tech paid him $1.1 Million.

     107.         Narra had no justification for making such demand for payment, he had no

  justification for withholding the Software, and had no justification for causing Indyzen to do same.

     108.         Narra used his, and Indyzen’s, continued unauthorized possession of the Software,

  to facilitate his extortion of $1.1 Million.

     109.         SkyHop Tech demanded that Narra and Indyzen return the Software within his

  exclusive possession on or before March 1, 2021. Narra and Indyzen did not transfer same, and

  continue to withhold the AWS Production Server Account passwords, and other portions of the

  Software or Digital Property in its possession.

     110.         As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered, and will

  continue to suffer, a damage as it has not had complete or sole access to its Software, data, and

  information, which includes but is not limited to the source code, passwords and other Digital

  Property.




                                                 Page 19 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 20 of 35




     111.        As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered and will

  continue to suffer losses that far exceed $5,000.00, which include but are not limited to (a)

  reasonable attorneys’ fees as a result of responding to Narra and Indyzen’s offense, (b) computer

  consultants’ fees as a result of responding to Narra and Indyzen’s offense, (c) software developer

  or consultant fees for conducting a damage assessment of the Software once it comes into

  possession of same, (d) software developer or consultant fees for conducting a damage assessment

  of the Software once it comes into possession of same, (e) loss of opportunity, and (f) other

  consequential damages such as loss of opportunity to collect additional data and add value to the

  Software and SkyHop Tech.

         WHEREFORE, Plaintiff SkyHop Tech demands final judgment in its favor, and against

  Narra and Indyzen, for possession and control of SkyHop Tech’s Software, temporary and

  permanent injunctive relief as set forth in the common prayer for relief below, and for

  compensatory damages together with interest, attorneys’ fees, costs and any other relief this Court

  deems just and proper.

                                         Count II
                   Computer Fraud and Abuse Act (18 U.S.C. §1030(a)(2)(C))
                              (SkyHop Tech against Defendants)

     112.        SkyHop Tech realleges and incorporates by reference herein the allegations in

  paragraphs 1 through 102.

     113.        On March 1, 2021, Narra intentionally withheld the AWS Staging Server Account

  passwords, and other portions of the Software or Digital Property within his exclusive possession.

  Narra also caused Indyzen to withhold the AWS Production Server Account passwords, and other

  portions of the Software or Digital Property in its possession.




                                             Page 20 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 21 of 35




     114.        As of March 2, 2021, Narra and Indyzen were no longer authorized to have

  exclusive possession and control of SkyHop Tech’s Software or Digital Property.

     115.        Defendants’ continued sole possession and control of SkyHop Tech’s Software was

  entirely without authority; alternatively, Defendants exceeded their authority by remaining in sole

  possession and control of SkyHop Tech’s Software or Digital Property.

     116.        From March 2, 2021 to present, Narra obtained information, or alternatively caused

  Indyzen to obtain information, from SkyHop Tech’s Software, which is located in its password

  protected servers and is used in or otherwise affects interstate commerce.

     117.        As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered, and will

  continue to suffer, a damage as it has not had complete or sole access to its Software, data, and

  information, which includes but is not limited to the source code, passwords and other Digital

  Property.

     118.        As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered and will

  continue to suffer losses that far exceed $5,000.00, which include but are not limited to (a)

  reasonable attorneys’ fees as a result of responding to Narra and Indyzen’s offense, (b) computer

  consultants’ fees as a result of responding to Narra and Indyzen’s offense, (c) software developer

  or consultant fees for conducting a damage assessment of the Software once it comes into

  possession of same, (d) software developer or consultant fees for conducting a damage assessment

  of the Software once it comes into possession of same, (e) loss of opportunity, and (f) other

  consequential damages such as loss of opportunity to collect additional data and add value to the

  Software and SkyHop Tech.

         WHEREFORE, Plaintiff SkyHop Tech demands final judgment in its favor, and against

  Narra and Indyzen, for possession and control of SkyHop Tech’s Software, temporary and




                                            Page 21 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 22 of 35




  permanent injunctive relief as set forth in the common prayer for relief below, and for

  compensatory damages together with interest, attorneys’ fees, costs and any other relief this Court

  deems just and proper.

                                        Count III
                   Computer Fraud and Abuse Act (18 U.S.C. §1030(a)(5)(C))
                              (SkyHop Tech against Defendants)

     119.        SkyHop Tech realleges and incorporates by reference herein the allegations in

  paragraphs 1 through 102.

     120.        On March 1, 2021, Narra intentionally withheld the AWS Staging Server Account

  passwords, and other portions of the Software or Digital Property within his exclusive possession.

  Narra also caused Indyzen to withhold the AWS Production Server Account passwords, and other

  portions of the Software or Digital Property in its possession.

     121.        As of March 2, 2021, Narra and Indyzen were no longer authorized to have the

  exclusive possession or control of the AWS Production Server Account, the AWS Staging Server

  Account and other components of SkyHop Tech’s Software or Digital Property.

     122.        Defendants’ continued sole possession and control of the AWS Production Server

  Account, the AWS Staging Server Account and other components of SkyHop Tech’s Software or

  Digital Property was entirely without authority.

     123.        Through the continued sole possession and control of SkyHop Tech’s Software

  from March 2, 2021 to present, Narra intentionally accessed, and or caused Indyzen to intentionally

  access, the Software which is located in its password protected servers and is used in or otherwise

  affects interstate commerce.

     124.        As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered, and will

  continue to suffer, a damage as it has not had complete or sole access to its Software, data, and




                                             Page 22 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 23 of 35




  information, which includes but is not limited to the source code, passwords and other Digital

  Property.

     125.        As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered and will

  continue to suffer losses that far exceed $5,000.00, which include but are not limited to (a)

  reasonable attorneys’ fees as a result of responding to Narra and Indyzen’s offense, (b) computer

  consultants’ fees as a result of responding to Narra and Indyzen’s offense, (c) software developer

  or consultant fees for conducting a damage assessment of the Software once it comes into

  possession of same, (d) software developer or consultant fees for conducting a damage assessment

  of the Software once it comes into possession of same, (e) loss of opportunity, and (f) other

  consequential damages such as loss of opportunity to collect additional data and add value to the

  Software and SkyHop Tech.

         WHEREFORE, Plaintiff SkyHop Tech demands final judgment in its favor, and against

  Narra and Indyzen, for possession and control of SkyHop Tech’s Software, temporary and

  permanent injunctive relief as set forth in the common prayer for relief below, and for

  compensatory damages together with interest, attorneys’ fees, costs and any other relief this Court

  deems just and proper.

                                       Count IV
     Florida’s Computer Abuse and Data Recovery Act (Fla. Stat. § 668.803(1), (2), or (3))
                           (SkyHop Tech against all Defendants)

     126.        SkyHop Tech realleges and incorporates by reference herein the allegations in

  paragraphs 1 through 102.

     127.        On March 1, 2021, Narra intentionally withheld the AWS Staging Server Account

  passwords, and other portions of the Software or Digital Property within his exclusive possession.




                                            Page 23 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 24 of 35




  Narra also caused Indyzen to withhold the AWS Production Server Account passwords, and other

  portions of the Software or Digital Property in its possession.

     128.          As of March 2, 2021, Defendants were no longer authorized to have exclusive

  possession and control of SkyHop Tech’s Software or Digital Property.

     129.          Defendants knew that their continued sole possession and control of SkyHop

  Tech’s Software was not authorized.

     130.          Through the continued sole possession and control of SkyHop Tech’s Software

  from March 2, 2021 to present Narra either (a) intentionally accessed, and or caused Indyzen to

  intentionally access, the Software that is located in its password protected servers and is used in or

  otherwise affects interstate commerce, (b) transmitted a program, code, or command, or caused

  Indyzen to transmit a program, code, or command, to the Software that is located in its password

  protected servers without authorization, or (c) trafficked in, or caused Indyzen to traffic in, a

  technological access barrier through which access to the Software may be obtained without

  authorization.

     131.          As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered, and will

  continue to suffer, a damage as it has not had complete or sole access to its Software, data, and

  information, which includes but is not limited to the source code, passwords and other Digital

  Property.

     132.          As a result of Narra and or Indyzen’s misconduct, SkyHop Tech suffered and will

  continue to suffer losses that far exceed $5,000.00, which include but are not limited to (a)

  reasonable attorneys’ fees as a result of responding to Narra and Indyzen’s offense, (b) computer

  consultants’ fees as a result of responding to Narra and Indyzen’s offense, (c) software developer

  or consultant fees for conducting a damage assessment of the Software once it comes into




                                             Page 24 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 25 of 35




  possession of same, (d) software developer or consultant fees for conducting a damage assessment

  of the Software once it comes into possession of same, (e) loss of opportunity, and (f) other

  consequential damages such as loss of opportunity to collect additional data and add value to the

  Software and SkyHop Tech.

            WHEREFORE, Plaintiff SkyHop Tech demands final judgment in its favor, and against

  Narra and Indyzen, for possession and control of SkyHop Tech’s Software, temporary and

  permanent injunctive relief as set forth in the common prayer for relief below, and for actual

  damages together with interest, attorneys’ fees, costs and any other relief this Court deems just and

  proper.

                                             Count V
                               Declaratory Judgment - Arbitrability
                             (SkyHop Global and Scotto against Indyzen)

     133.         Plaintiffs SkyHop Global and Scotto reallege and incorporate by reference herein

  the allegations in paragraphs 1 through 102.

     134.         On March 12, 2021, Indyzen filed the Demand against the Plaintiffs.

     135.         The claims Indyzen is attempting bring in the Arbitration are set forth as follows:




  Arbitration Demand, Ex. 23.

     136.         Indyzen has not provided any other description of its claims, nor has it set forth any

  additional allegations in support thereof.

     137.         SkyHop Global is not a party to any contract with Indyzen. See Development

  Contracts, Exs. 1, 2, 3, 4, and 5.

     138.         SkyHop Global is not a shareholder of SkyHop Tech.



                                               Page 25 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 26 of 35




     139.         SkyHop Global’s only relationship to the dispute between SkyHop Tech and the

  Indyzen is that it holds a license to use the Software.

     140.         Scotto, in her individual capacity, is not a party to any contract with Indyzen. See

  Development Contracts, Exs. 1, 2, 3, 4, and 5. Scotto’s only relationship to the dispute between

  SkyHop Tech and Indyzen is in her capacity as a President of SkyHop Tech.

     141.         Indyzen relies on the 2014 Development Contract, and more particularly the

  arbitration provision contained therein, as the arbitration agreement that gives it the right to

  arbitrate the claims set forth therein. See 2014 Development Contract attached to Arbitration

  Demand, at Sec. 12, Ex. 23.

     142.         The 2014 Development Contract is between Skyhop Tech and Indyzen, it provides

  in relevant part:




  See 2014 Development Contract attached to Arbitration Demand, at Page 1 of 9, Ex. 23.

  AppDevelopment.com, Inc., a fictitious name of Indyzen.

     143.         There is no provision in the 2014 Development Contract making it applicable to

  any party other than specifically the Company (Indyzen) or the Customer (SkyHop Tech). Id.

     144.         In the 2014 Development Contract between SkyHop Tech and Indyzen there is an

  arbitration provision contained at section 12. This provision reads as follows:

              Customer shall provide Company, detailed information regarding any dispute,
              and shall agree to cooperate with Company in investigating of disputed matters.
              Except for any dispute arising out of payments due to Company, any dispute
              or disagreement arising between the Company and the Customer which is
              not resolved to the mutual satisfaction of the Company and the Customer within


                                             Page 26 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 27 of 35




             fifteen (15) days (or such longer period as may be mutually agreed upon) from
             the date that either Party gives written notice that such dispute or disagreement
             exists, shall be referred to arbitration in San Jose, CA before one arbitrator in
             accordance with the Commercial Arbitration Rules (the "Arbitration Rules") of
             the American Arbitration Association (the "AAA"), in effect on the date that
             such written notice is given. Each Party shall bear its own cost of preparing for
             and presenting its case; and the cost of arbitration, including the fees, and
             expenses of the arbitrator, will be shared equally by the Parties. Customer
             waives any and all rights it may have to a jury trial in connection with any
             proceedings concerning this agreement.

  2014 Development Contract attached to Arbitration Demand, at Sec. 12, Ex. 23 (emphasis added).

     145.        Plaintiff Scotto and Plaintiff SkyHop Global never agreed to arbitrate any claims

  with Indyzen, and much less the claims set forth in the Arbitration Demand and, as such, are not

  obligated to participate in an arbitration with the Defendants.

     146.        The claims described in Indyzen’s Demand further indicate that they are not

  arbitrable against either SkyHop Global or Scotto. For example, one of the described claims

  provides that “Respondent falsely represented she [presumptively Scotto] would give Claimant

  [Indyzen] 32% stake in company [presumptively SkyHop Tech], and in return received valuable

  services at deep discount under this contract and related contracts.” Arbitration Demand, Ex. 23.

  (Emphasis added). This statement is inaccurate because Scotto never represented that Indyzen

  would hold a 32% stake in SkyHop Tech; rather, as reflected in the emails supra the initial intent

  was for Narra, individually, to hold a 32% share of SkyHop Tech, which interest was later

  unequivocally disclaimed by Narra.

     147.        Based on the January 11, 2021, February 1, 2021, and February 6, 2021 emails, the

  dispute is one concerning the ownership interest in SkyHop Tech because those emails make clear

  that Narra’s demand for $1.1 million was for his purported ownership interest in SkyHop Tech. A

  dispute concerning the ownership of SkyHop Tech is necessarily between Narra, individually, and




                                             Page 27 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 28 of 35




  SkyHop Tech’s shareholders—Scotto and Young. Such dispute is not subject to arbitration

  because Scotto and Narra never agreed to arbitrate claims concerning the ownership SkyHop Tech.

     148.         There is an actual case or controversy between Indyzen and Plaintiffs Scotto and

  SkyHop Global regarding the arbitrability of Indyzen’s claims and Plaintiffs’ obligations to

  participate in an arbitration.

     149.         Scotto and SkyHop Global will suffer injury in the future if they are required to

  participate in an arbitration for which they did not agree to participate.

     150.         There is a substantial continuing controversy between Indyzen and Plaintiffs Scotto

  and SkyHop Global.

     151.         The continuing controversy is not conjectural, hypothetical, or contingent; it is real

  and immediate, and creates a definite, rather than speculative threat of future injury to Plaintiffs

  Scotto and SkyHop Global.

          WHEREFORE, Plaintiffs Scotto and SkyHop Global seek a declaration that the arbitration

  provision in the 2014 Development Contract is unenforceable as it relates to them. Further,

  Plaintiffs’ request this Court issue a preliminary permanent injunction prohibiting the Arbitration

  against Scotto and SkyHop Global.

                                                Count VI
                                   Declaratory Judgment - Arbitrability
                                      (SkyHop Tech against Indyzen)

     152.         SkyHop Tech realleges and incorporate by reference herein the allegations in

  paragraphs 1 through 102.

     153.         On March 12, 2021, Indyzen filed the Demand against the Plaintiffs.

     154.         The claims Indyzen is attempting bring in the Arbitration are set forth as follows:




                                              Page 28 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 29 of 35




  Arbitration Demand, Ex. 23.

     155.         Indyzen has not provided any other description of its claims, nor has it set forth any

  additional allegations in support thereof.

     156.         Indyzen relies on the 2014 Development Contract, and more particularly the

  arbitration provision contained therein, as the arbitration agreement that gives it the right to

  arbitrate the claims set forth therein. See 2014 Development Contract attached to Arbitration

  Demand, at Sec. 12, Ex. 23.

     157.         The 2014 Development Contract is between Skyhop Tech and Indyzen, it provides

  in relevant part:




  See 2014 Development Contract attached to Arbitration Demand, at Page 1 of 9, Ex. 23.

  AppDevelopment.com, Inc., a fictitious name of Indyzen.

     158.         In the 2014 Development Contract between SkyHop Tech and Indyzen there is an

  arbitration provision contained at section 12. This provision reads as follows:

              Customer shall provide Company, detailed information regarding any dispute,
              and shall agree to cooperate with Company in investigating of disputed matters.
              Except for any dispute arising out of payments due to Company, any
              dispute or disagreement arising between the Company and the Customer which
              is not resolved to the mutual satisfaction of the Company and the Customer
              within fifteen (15) days (or such longer period as may be mutually agreed upon)
              from the date that either Party gives written notice that such dispute or
              disagreement exists, shall be referred to arbitration in San Jose, CA before one


                                               Page 29 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 30 of 35




             arbitrator in accordance with the Commercial Arbitration Rules (the
             "Arbitration Rules") of the American Arbitration Association (the "AAA"), in
             effect on the date that such written notice is given. Each Party shall bear its own
             cost of preparing for and presenting its case; and the cost of arbitration,
             including the fees, and expenses of the arbitrator, will be shared equally by the
             Parties. Customer waives any and all rights it may have to a jury trial in
             connection with any proceedings concerning this agreement.

  2014 Development Contract attached to Arbitration Demand, at Sec. 12, Ex. 23 (emphasis added).

     159.        Disputes concerning payment of the Software are specifically exempted from

  Arbitration. See 2014 Development Contract attached to Arbitration Demand, at Sec. 12, Ex. 23.

     160.        The dispute, as identified by Indyzen in its Demand, is one of payment that is

  outside the scope of the arbitration provision. Indyzen maintains that it is justified in withholding

  the Software because it believes that SkyHop Tech failed to pay full price for it. According to

  Indyzen, it developed the Software “at deep discount” due to the fact that Narra was initially

  supposed to own a percentage of SkyHop Tech; thus, SkyHop Tech failed to pay full price for it.

  Indyzen’s rationale however is flawed and does not justify withholding the Software because (a)

  Narra’s purported ownership of SkyHop Tech did not form part of the “payment” for the Software,

  (b) SkyHop Tech paid all amounts due for the Software, (c) whether Narra, individually, was given

  an ownership interest of SkyHop Tech is not a basis to withhold the Software from SkyHop Tech,

  and (d) Narra voluntarily waived any claim to ownership and made no demand for payment over

  the entire course of the SkyHop Ownership Litigation.

     161.        Alternatively, to the extent that the dispute concerns the ownership of SkyHop

  Tech, that does not constitute an arbitrable dispute between SkyHop Tech and Indyzen because

  such a dispute is between Narra, individually, and SkyHop Tech’s shareholders—Scotto and

  Young.




                                             Page 30 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 31 of 35




     162.        There is an actual case or controversy between SkyHop Tech and Indyzen regarding

  the arbitrability of Indyzen’s claims and SkyHop Tech’s obligations to participate in an

  Arbitration.

     163.        SkyHop Tech will suffer injury in the future if they are required to participate in an

  arbitration for which it did not agree to participate.

     164.        There is a substantial continuing controversy between SkyHop Tech and Indyzen.

     165.        The continuing controversy is not conjectural, hypothetical, or contingent; it is real

  and immediate, and creates a definite, rather than speculative threat of future injury to SkyHop

  Tech.

          WHEREFORE, SkyHop Tech seeks a declaration that the arbitration provision in the 2014

  Development Contract is unenforceable as it relates to the claims set forth in the Arbitration

  Demand. Further, SkyHop Tech requests this Court issue a preliminary permanent injunction

  prohibiting the Arbitration against SkyHop Tech.

                             Prayer for Relief Common to Counts I - IV

          WHEREFORE, in addition to above-requested relief, SkyHop Tech requests this Court

  enter judgment against Defendants, setting forth as follows:

    1.    Requiring Defendants to transfer to SkyHop Tech the sole possession and control of

          SkyHop Tech’s Software and Digital Property, which includes but is not limited to:

             a. the source code,

             b. all data collected, produced, or used by the Software, including but not limited to

                 the production data, staging data, or quality assurance data,

             c. domain names,

             d. DNS services,




                                              Page 31 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 32 of 35




            e. AWS cloud servers account hosting the Software (which will include access to the

                 root AWS user and the SSH access to root user or user with sudo/su privileges),

            f. signing keys,

            g.   any passwords, passphrases and other login information to sign apps or used in

                 connection to SkyHop Tech’s Software,

            h. any passwords, passphrases and other login information to sign-in to third-party

                 vendor accounts used by SkyHop Tech’s Software,

            i. the Apple Developer account used for the IOS apps,

            j. Google Play Developer Console account used for the android accounts,

            k. Firebase Cloud Messaging account,

            l. any other external services or application programming interfaces (APIs) used by

                 the production web application or for development (this includes both management

                 access and API access where applicable), these API’s include but are not limited

                 to: Document conversion service, error tracking, websocket service, and Google

                 Cloud Platform account which provides maps/directions API,

            m. any other account with outside vendors or third parties and/or APIs, which are used

                 for the Software to function, and

            n. any other information or account necessary to ensure the Software continues to

                 function in an uninterrupted manner and can continue to be developed by SkyHop

                 Tech’s internal developers.

    2.   Entering a preliminary and permanent injunction against Defendants, their employees,

         agents, successors and assigns, and all those in active concert and participation with




                                            Page 32 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 33 of 35




         Defendants, and each of them who receives notice directly or otherwise of such injunctions,

         ordering as follows:

             a. For as long as Defendants are in possession of the SkyHop Tech’s Software,

                 Defendants shall:

                     i. ensure that the Software continues to function in an uninterrupted manner,

                     ii. respond in a timely fashion3 to any bugs or issues with the Software that

                          may arise,

                    iii. make available a maintenance personnel via email, phone, or

                          videoconference to customer to address any bugs or issues with the

                          Software, and

                    iv.    and can continue to be developed by SkyHop Tech’s internal developers.

             b. Defendants shall transfer possession and control of the Software and Digital

                 Property to SkyHop Tech in such a manner so as to ensure that the Software will

                 continue to function in an uninterrupted manner, and that SkyHop Tech’s internal

                 developers can continue to develop the Software,




  3
    For bugs or issues causing an emergency situation, in which the Software is rendered inoperable
  or degrades substantially such that there is a severe impact on use, produces incorrect results on
  Core functionality, or fails catastrophically, a “timely” response time shall be (i) within thirty-
  minutes for Defendants to provide a response by a member of its staff and begin to diagnose and
  to correct the problem, (ii) within 1 hour for Defendants to deliver an acceptable work-around that
  permits the Software to be used in a way that ensures continuity of ground transportation services
  to Airlines, and (iii) under any and all circumstances, the Software must be functioning properly
  within 4 hours. For all other bugs or issues where the Software is usable but does not operate in
  the most convenient manner, and the user suffers little or no significant impact, a “timely” response
  time shall be (i) within 24 hours to provide a response by a member of Defendants’ staff, (ii) within
  48 hours to begin to diagnose and to correct the problem, and (iii) under any and all circumstances,
  the Software must be functioning properly within 2 weeks.

                                             Page 33 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 34 of 35




              c.   Defendants shall relinquish all access or control to the Software and Digital

                   Property,

              d. Defendants shall not reproduce, commercialize, or exploit the Software, and

              e. Within thirty (30) days after entry of such injunction order or judgment, provide a

                   report in writing under oath, setting forth in detail the manner and form in which

                   Defendants have complied with the above.

                                    DEMAND FOR JURY TRIAL

          Pursuant to Rule 38(b) of the Federal Rules of Civil procedure, Plaintiffs respectfully

  requests a trial by jury of all issues properly triable by jury.


          Date: April 12, 2021

                                                  Respectfully Submitted:

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                                               Page 34 of 35
Case 0:21-cv-60799-AHS Document 1 Entered on FLSD Docket 04/12/2021 Page 35 of 35




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                                   Page 35 of 35
